Case 8:15-cv-03068-PJM Document 195-8 Filed 08/05/21 Page 1 of 3




                  EXHIBIT 7
       Case 8:15-cv-03068-PJM Document 195-8 Filed 08/05/21 Page 2 of 3



                          UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MARYLAND
                                   (Southern Division)

 JAMES HERBERT BOYD, JR., et al.,
 individually and on behalf of all
 similarly-situated individuals,
                                                       Civil Action No.: 15-cv-03068-PJM
                 Plaintiffs,

 v.

 SFS COMMUNICATIONS, LLC, et al.,

                 Defendants.

         [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES AND COSTS

       Upon consideration of Plaintiffs’ Motion for an Award of Attorneys’ Fees and Costs and

Memorandum in Support (ECF Nos. _________), and any opposition thereto it is, this ___ day

of August 2021,

       ORDERED

       1.   A final judgment is entered in favor of Plaintiffs and against Defendants SFS

            Communications, LLC; Ferdous Ahmed Sharif; CU Employment, Inc.; and

            Communications Unlimited Contracting Services, Inc., jointly and severally, for

            Plaintiffs’ attorneys’ fees and costs.

       2. Under the Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir.

            1974) factors, the Court finds the hours expended in this case by Class Counsel and

            the hourly rates of Class Counsel are reasonable for this class and collective action

            case.

       3. Class Counsel’s costs incurred in litigating this action are also reasonable.
Case 8:15-cv-03068-PJM Document 195-8 Filed 08/05/21 Page 3 of 3



4. Class Counsel shall be awarded $1,941,450.30 in attorneys’ fees and $49,418.87 in

   costs.

5. This judgment shall bear interest as prescribed by 28 U.S.C. § 1961.


                                            _______________________________
                                                   PETER J. MESSITTE
                                            UNITED STATES DISTRICT JUDGE




                                        2
